                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:10-00258
                                                   )      JUDGE CAMPBELL
MIGUEL PADILLA                                     )


                                           ORDER

       Pending before the Court is a Motion for Leave to Proceed Ex Parte and Under Seal (Docket

No. 423). The Motion is GRANTED.

       The Court will hold an ex parte hearing to consider the Defendant’s proposed budget on

October 31, 2012, at 9:00 a.m.

       It is so ORDERED.

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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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